         Case 1:24-cr-00082-RMB         Document 18         Filed 05/22/24     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                - v. -                                   24 Cr. 82 (RMB)

 KEONNE RODRIGUEZ,
                                                         NOTICE OF APPEARANCE
                          Defendant.



           PLEASE TAKE NOTICE that Michael Kim Krouse hereby appears on behalf of

Keonne Rodriguez in the above-captioned action, certifies that he is admitted to practice in this

Court, and further requests that copies of all papers in this action be served on the undersigned at

the address below.

Dated:     New York, New York
           May 22, 2024                 ARNOLD & PORTER KAYE SCHOLER LLP



                                                   By:     /s/ Michael Kim Krouse
                                                           Michael Kim Krouse
                                                           250 W. 55th Street
                                                           New York, New York 10019
                                                           Telephone: (212) 836-8000
                                                           Facsimile: (212) 836-8689
                                                           michael.krouse@arnoldporter.com

                                                           Attorney for Defendant Keonne Rodriguez
